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 7
 8                               IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                           )    CASE NO. Cr.-S-04-118-LKK
                                                          )
12                         Plaintiff,                     )
                                                          )    GOVERNMENT’S MOTION TO DISMISS
13                   v.                                   )    INDICTMENT AS TO DEFENDANT
                                                          )    EDWIN JENSEN; ORDER THEREON
14    EDWIN JENSEN,                                       )
                                                          )
15                         Defendant.                     )
                                                          )
16                                                        )
17
18          Pursuant to Rule 48 of the Federal Rules of Criminal Procedure, the United States hereby
19   moves the Court, in the interest of justice, for an order dismissing the indictment in this case against
20   defendant Edwin Jensen since defendant Jensen experienced a disabling stroke, and his condition is not
21   ///
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23   ///
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26   ///
27   ///
28   ///

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 1   expected to improve to the point that he could stand trial.
 2   DATED: March 14, 2008
 3                                                         McGREGOR W. SCOTT
                                                           United States Attorney
 4
 5                                                     By, /s/ John K. Vincent
                                                          JOHN K. VINCENT
 6                                                        Assistant U.S. Attorney
 7
 8
 9                                                  ORDER
10          In view of the instant motion, and GOOD CAUSE APPEARING THEREFORE, IT IS
11   HEREBY ORDERED that the indictment in the above-captioned action as to defendant Edwin Jensen
12   is hereby dismissed and that bond, if any, is hereby exonerated.
13   DATED: March 14, 2008
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